      Case 2:21-cv-01568-MTL Document 228 Filed 10/24/22 Page 1 of 3




 1    MARK BRNOVICH
      ATTORNEY GENERAL
 2    (Firm State Bar No. 14000)
 3    Joseph A. Kanefield (No. 15838)
      Drew C. Ensign (No. 25463)
 4    James K. Rogers (No. 27287)
 5    2005 N. Central Ave
      Phoenix, AZ 85004-1592
 6    Phone: (602) 542-8540
      Joseph.Kanefield@azag.gov
 7    Beau.Roysden@azag.gov
      Drew.Ensign@azag.gov
 8    James.Rogers@azag.gov
 9
      Attorneys for Plaintiffs Mark Brnovich
10    and the State of Arizona
11
                                  UNITED STATES DISTRICT COURT
12
                                        DISTRICT OF ARIZONA
13
14   Mark Brnovich, in his official capacity as     No. 2:21-cv-01568-MTL
     Attorney General of Arizona; et al.,
15                  Plaintiffs,                     PARTIES’ JOINT REPONSE TO
            v.                                      ORDER TO SHOW CAUSE
16
      Joseph R. Biden in his official capacity as
17    President of the United States; et al.,
18                  Defendants.
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      Case 2:21-cv-01568-MTL Document 228 Filed 10/24/22 Page 2 of 3




 1          Plaintiffs (the “State”) and Defendants (“DHS”) jointly respond to this Court’s Order
 2   to Show Cause, (Doc. 227) and apologize for their failure to timely file the Joint Case Report.
 3   This missed filing was the result of both parties’ failure to properly calendar the deadline. This
 4   oversight was exacerbated by the press of business, which has been particularly heavy of late
 5   and compounded by staff departures in recent weeks at the Arizona Attorney General’s Office.
 6          The State and DHS have taken internal administrative steps to more carefully track
 7   deadlines in this case and ensure that such an oversight does not happen again.
 8          Concurrent with this Response, the parties are also filing their Joint Proposed Case
 9   Management Report.
10
11          RESPECTFULLY SUBMITTED this 24th day of October, 2022.
12
13                                                MARK BRNOVICH
                                                  ATTORNEY GENERAL
14
15                                                By: /s/ James K. Rogers       .
                                                      Joseph A. Kanefield (No. 15838)
16                                                    Drew C. Ensign (No. 25463)
17                                                    James K. Rogers (No. 27287)

18                                                Attorneys for Plaintiffs Mark Brnovich and the State of
                                                  Arizona
19
20
                                                  By: /s/ _Elissa Fudim________
21
                                                  Elissa Fudim
22
                                                  Trial Attorney
23                                                U.S. Department of Justice, Civil Division
                                                  Office of Immigration Litigation,
24                                                District Court Section
25                                                P.O. Box 868, Ben Franklin Station
                                                  Washington, D.C. 20044
26                                                Tel: (202) 598-6073
27                                                Email: elissa.p.fudim@usdoj.gov
                                                  Counsel for Defendants
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      Case 2:21-cv-01568-MTL Document 228 Filed 10/24/22 Page 3 of 3




 1   CERTIFICATE OF SERVICE

 2          I hereby certify that on this 24th day of October, 2022, I electronically filed the

 3   foregoing with the Clerk of the Court for the United States District Court for the District of

 4   Arizona using the CM/ECF filing system. Counsel for all Defendants who have appeared are
 5   registered CM/ECF users and will be served by the CM/ECF system pursuant to the notice
 6   of electronic filing.
 7
 8                                               /s/ James K. Rogers
                                                Attorney for Plaintiffs Mark Brnovich, in his official
 9                                              capacity as Attorney General of Arizona; and the State of
10                                              Arizona
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